                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION

                                     DOCKET NO. 1:05CR30

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )              PRELIMINARY ORDER
               v.                                )                OF FORFEITURE
                                                 )
1) BILLY JOE SANDERS                             )
2) TAMMIE RAINES SANDERS                         )
                                                 )
                       Defendants.               )


       As a result of the guilty pleas of both defendants to the violations stated in the single

count in the Bill of Indictment, for which the United States sought forfeiture pursuant to 21

U.S.C. § 853, the defendants shall forfeit to the United States all property constituting or derived

from any proceeds the defendants obtained, directly or indirectly, as a result of such violations;

and/or all property used or intended to be used in any manner or part to commit or facilitate the

commission of the violations.

       The Court has determined, based on the Bill of Indictment and the guilty pleas of the

defendants, that the following property is subject to forfeiture pursuant to 21 U.S.C. § 853 and

that the government has established the requisite nexus between such property and such

violations:

       Real property located at 26 Hogan Drive, Old Fort, McDowell County, North
       Carolina, and described in a Deed at Book 647, Page 93, of the McDowell County,
       North Carolina, Public Registry




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        It is therefore ORDERED:

        1. The above-named property is hereby forfeited to the United States for disposition

according to law, subject to the provisions of 21 U.S.C. § 853(n).

        2. The Attorney General (or his designee) is authorized to seize the forfeited property

subject to forfeiture; to conduct any discovery proper in identifying, locating, or disposing of the

property; and to commence proceedings that comply with any statutes governing third party

rights. Fed. R. Crim. P. 32.2(b)(3).

        3. Pursuant to 21 U.S.C. § 853(n)(1) and Standing Order of this Court No. 3:05MC302-C

(September 8, 2005), the government shall publish once in The McDowell News, Marion,

McDowell County, North Carolina, a newspaper of general circulation, Notice of this order and

of its intent to dispose of the property in such manner as the United States may direct. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this order of forfeiture, as a

substitute for published notice as to those persons so notified.

        4. Any person, other than the defendants, having or claiming a legal interest in any of the

above-listed forfeited property may, within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of the petitioner’s alleged interest in the property, and for an amendment

of the order of forfeiture pursuant to 21 U.S.C. § 853(n). The petition shall be signed by the

petitioner under penalty of perjury and shall set forth the nature and extent of the petitioner’s

right, title or interest in each of the forfeited properties; the time and circumstances of the

petitioner’s acquisition of the right , title, or interest in the property; and any additional facts


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supporting the petitioner’s claim and the relief sought. 21 U.S.C. §§ 853(n)(2) and (3).

        5. After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal

Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.

        6. This Preliminary Order of Forfeiture shall become final as to the defendants at the

time of sentencing and shall be made part of the sentence and included in the judgement. If no

third party files a timely claim, this Order shall become the Final Order of Forfeiture, as provided

by Fed. R. Crim. P. 32.2(c)(2).

        7. Upon adjudication of third-party interests, if any, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32(c)(2).

        8. The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

                                                  Signed: October 18, 2006




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